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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO. 20-60587-CIV-RUIZ

  APPLE CORPS LIMITED and SUBAFILMS
  LIMITED,

                 Plaintiffs,

  vs.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

                 Defendants.
                                                     /

    PLAINTIFFS’ EX PARTE MOTION FOR ORDER AUTHORIZING ALTERNATE
   SERVICE OF PROCESS ON DEFENDANTS PURSUANT TO FEDERAL RULE OF
  CIVIL PROCEDURE 4(f)(3) AND MEMORANDUM OF LAW IN SUPPORT THEREOF

         Plaintiffs, Apple Corps Limited and Subafilms Limited, (collectively “Plaintiffs”), hereby

  move this Honorable Court, on an ex parte basis, 1 for an order authorizing alternate service of

  process on Defendants, the Individuals, Partnerships and Unincorporated Associations Identified

  on Schedule “A” (collectively “Defendants”), brought pursuant to Federal Rule of Civil

  Procedure 4(f)(3). In support thereof, Plaintiffs submit the following Memorandum of Law.

  1
    Plaintiffs are moving for alternate service ex parte as Plaintiffs have yet to provide Defendants
  with notice of this action. (See Declaration of T. Raquel Wiborg-Rodriguez in Support of
  Plaintiffs’ Ex Parte Motion for Order Authorizing Alternate Service of Process on Defendants
  Pursuant to Federal Rule of Civil Procedure 4(f)(3) [“Wiborg-Rodriguez Decl.”] ¶ 1 n.1, filed
  herewith.) On March 19, 2020, Plaintiffs filed their Ex Parte Application for Temporary
  Restraining Order, Preliminary Injunction, and Order Restraining Transfer of Assets (“Ex Parte
  Application for Temporary Restraining Order”), together with the supporting Declarations and
  Exhibits [ECF No. 6], which is currently pending before the Court. This Motion makes reference
  to Plaintiffs’ Ex Parte Application for Temporary Restraining Order, and as such, Plaintiffs seek
  to prevent premature disclosure of that filing. (Id.) However, Plaintiffs are filing this Motion so
  that, in the event Plaintiffs’ Ex Parte Application for Temporary Restraining Order and this
  Motion are granted, Plaintiffs can effectuate service of process pursuant to Rule 4 of the Federal
  Rules of Civil Procedure simultaneously with providing notice of the Court’s order on Plaintiffs’
  Ex Parte Application for Temporary Restraining Order. (Id.)
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  I.     INTRODUCTION

         Plaintiffs are suing Defendants for federal trademark counterfeiting and infringement,

  false designation of origin, common law unfair competition, and common law trademark

  infringement. Defendants are knowingly and intentionally importing, promoting, advertising,

  distributing, offering for sale, and selling goods bearing counterfeits and infringements of one or

  more of Plaintiffs’ registered trademarks within this district and throughout the United States by

  operating e-commerce stores established via third-party Internet marketplace platforms under

  their seller identification names identified on Schedule “A” hereto (the “Seller IDs”).

         Pursuant to Federal Rule of Civil Procedure 4(f)(3), Plaintiffs request an order

  authorizing service of process on Defendants via electronic mail (“e-mail”) and via website

  posting. Alternate service by e-mail and by posting on a designated website are appropriate and

  necessary in this case, because Defendants (1) operate via the Internet; and (2) rely on electronic

  communications to operate their businesses. As such, Plaintiffs have the ability to contact

  Defendants directly and provide notice of Plaintiffs’ claims against them electronically via e-

  mail. Additionally, Plaintiffs have created a website and will be posting copies of the Complaint

  and all other documents filed in this action. Plaintiffs respectfully submit that an order allowing

  service of process, and service of all filings, via e-mail and by posting on a designated website in

  this case will benefit all parties and the Court by ensuring Defendants receive immediate notice

  of the pendency of this action and allowing this action to move forward expeditiously. Absent

  the ability to serve Defendants by e-mail and/or by website posting, Plaintiffs will almost

  certainly be left without the ability to pursue a remedy.




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  II.    STATEMENT OF FACTS

         A.     Defendants Have Valid Means of Electronic Contact.

         Defendants operate Internet-based businesses and identify e-mail, including onsite

  contact forms, as a means of communication such that Plaintiffs will be able to provide

  Defendants with notice of this action via e-mail and website posting. (See Wiborg-Rodriguez

  Decl. ¶¶ 3-9, filed herewith.) As a practical matter, it is necessary for merchants who operate

  entirely online, such as Defendants, to provide customers with a valid electronic means by which

  customers may contact the merchants to ask questions about the merchants’ products, place

  orders from the merchants, and receive information from the merchants regarding the shipment

  of orders. Further, e-commerce defendants generally must maintain accurate e-mail addresses

  where their marketplace platform administrator and payment processors may communicate with

  them regarding issues related to the maintenance of their e-commerce store accounts and transfer

  of funds for the payment of goods. Additionally, Plaintiffs have created a website that will be

  appearing at the URL http://servingnotice.com/awel3b/index.html (“Plaintiffs’ Website”), such

  that anyone accessing Plaintiffs’ Website will find copies of all documents filed in this action.

  (See Wiborg-Rodriguez Decl. at ¶ 8.)

         Specifically, Defendant Numbers 1-20 have at least one method of electronic

  communication, such as e-mail via the online contact form associated with their respective e-

  commerce store operating under the Seller IDs in the form of Amazon’s Buyer-Seller Messaging

  Service. (See Wiborg-Rodriguez Decl. ¶ 3; see also Declaration of Kathleen Burns in Support of

  Plaintiffs’ Ex Parte Application for Entry of Temporary Restraining Order, Preliminary

  Injunction, and Order Restraining Transfer of Assets [“Burns Decl. in Support of Application for




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  Temporary Restraining Order”] ¶ 4, incorporated herein by reference.) 2 Amazon’s Buyer-Seller

  Messaging Service is a system that facilitates communication between customers and merchants

  in the Amazon marketplace. (See Wiborg-Rodriguez Decl. ¶ 3.) By using the Buyer-Seller

  Messaging Service, a customer can communicate with an Amazon merchant via a unique

  anonymized e-mail address. (Id.) This anonymized e-mail alias is treated in the same way as a

  real e-mail address. 3 (Id.) E-mails sent via Amazon’s Buyer-Seller Messaging Service are

  routed to the merchant via the anonymized e-mail address.         (Id.)   Additionally, Amazon

  maintains a history of all e-mails routed through its system, and allows a customer to see a copy

  of the e-mail on the Messages page in the customer’s account. (Id.) More importantly, customers

  are automatically notified when an e-mail message is not delivered to the merchant, or the

  merchant’s e-mail address is invalid. (Id.) Amazon also maintains additional contact e-mail

  addresses for sellers operating via Amazon.com, and based upon multiple past actions, Amazon

  identifies these additional contact e-mail addresses for all Defendants at issue upon compliance

  with a temporary restraining order, such as the temporary restraining order Plaintiffs are

  requesting in the instant case. (Id.)

          Additionally, Defendant Numbers 21-37 have provided an electronic form of contact in

  the form of DHgate.com’s (“DHgate”) messaging system. 4 DHgate’s “Ask seller a question”

  2
    On March 19, 2020, Plaintiffs filed their Ex Parte Application for Entry of Temporary
  Restraining Order, Preliminary Injunction, and Order Restraining Transfer of Assets, together
  with supporting declarations and exhibits (the “Application for Temporary Restraining Order”).
  Plaintiffs’ Application for Temporary Restraining Order, together with declarations and exhibits
  in support thereof [ECF No. 6], are all incorporated herein by reference.
  3
         See      Amazon’s       Buyer-Seller   Messaging       Service,    available  at
  http://www.amazon.com/gp/help/customer/display.html/ref=hp_rel_topic?ie=UTF8&nodeId=20
  0441890 (last visited March 19, 2020).
  4
        See   DHgate’s     Contacting     Your      Seller      service,   is     available      at
  https://www.dhgate.com/html/services/win-contact.html (last visited March 19, 2020).


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  function is a system that facilitates communications between customers and merchants in

  DHgate.com’s marketplace platform. (See Wiborg-Rodriguez Decl. ¶ 4.)

         Furthermore, Defendant Numbers 38-71 can be contacted via the onsite contact forms

  embedded directly on their e-commerce storefront. (See Wiborg-Rodriguez Decl. ¶ 5.)

  Moreover, these Defendants use money transfer and retention services with PayPal, Inc.

  (“PayPal”) as a method to receive monies generated through the sale of counterfeit products.

  (Id.) These Defendants have provided at least one accurate contact e-mail address in the form of

  a PayPal account to Plaintiffs’ investigator while conducting business via their respective e-

  commerce stores operating under their Seller IDs. (See Burns Decl. in Support of Application for

  Temporary Restraining Order ¶ 4 and Composite Exhibit 3 attached thereto, incorporated herein

  by reference.) Clearly, Defendants’ PayPal account e-mail addresses must necessarily be valid,

  working e-mail addresses; otherwise, Defendants would not be able to process payments through

  their PayPal accounts. (See Wiborg-Rodriguez Decl. ¶ 5.) Moreover, pursuant to PayPal’s

  Electronic Communications Delivery Policy (E-Sign Disclosure and Consent), PayPal account

  holders consent to receive all communication electronically, including via e-mail, and are

  required to maintain a valid e-mail address. 5 If PayPal discovers an e-mail address has become

  invalid such that electronic communications sent to the e-mail address by PayPal are returned,

  PayPal may deem the account to be inactive and disable transaction activity until a valid,

  working e-mail address is provided. (Id.)

         Moreover, Defendant Numbers 72-78, operating their respective e-commerce stores via

  the Internet marketplace website, Wish.com, have provided an electronic form of contact in the

  form of Wish.com’s messaging system.        (See Wiborg-Rodriguez Decl. ¶ 6)        Wish.com’s
  5
    See also PayPal’s Electronic Communications Delivery Policy (E-Sign Disclosure and
  Consent), available at https://www.paypalobjects.com/webstatic/ua/pdf/US/en_US/esign.pdf (last
  visited March 19, 2020).


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  messaging system facilitates communication between customers and merchants in the Wish.com

  marketplace through the customer’s Order History webpage. (Id.) Additionally, ContextLogic,

  Inc., which operates the Wish.com website, maintains contact e-mail addresses for sellers

  operating via Wish.com, and based upon past actions, ContextLogic, Inc. identifies these

  additional contact e-mail addresses for all Defendants at issue upon compliance with a temporary

  restraining order, such as the temporary restraining order Plaintiffs are requesting in the instant

  case. (Id.) Defendants are further able to receive notice of this action by e-mail via the e-

  commerce marketplace platform that Defendants use to conduct their commercial transactions.

  (Id. at ¶ 7.)

          Finally, Plaintiffs will be able to provide each Defendant notice of this action via public

  announcement on Plaintiffs’ designated website. Plaintiffs have created their Website that will be

  appearing at the URL http://servingnotice.com/awel3b/index.html, whereon copies of the

  Complaint and all other pleadings, documents and orders on file in this action will be posted,

  such that anyone accessing Plaintiffs’ Website will find copies of all documents filed in this

  action. (See Wiborg-Rodriguez Decl. ¶ 8.) The address for Plaintiffs’ Website will be provided

  to Defendants via e-mail to Defendants’ known e-mail accounts and onsite contact forms and

  will be included as part of service of process in this matter. (Id.)

          Accordingly, each Defendant will be provided with notice of this action electronically by

  providing the address to Plaintiffs’ Website to their corresponding e-mail addresses, customer

  service e-mail addresses and/or onsite contact forms or via the e-commerce marketplace

  platforms that Defendants use to conduct their commercial transactions via the Seller IDs. (See

  Wiborg-Rodriguez Decl. ¶ 9.) In this manner, Defendants will receive a web address at which




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  they can access all electronic filings to view, print, or download any document filed in the case

  similar to the court’s CM/ECF procedures. (Id.)

         B.      Defendants Rely Solely on Electronic Communications.

         Defendants have structured their e-commerce marketplace store businesses so that the

  means for customers to purchase Defendants’ counterfeit and infringing goods at issue is by

  placing an order electronically. Defendants take and confirm orders online and rely on electronic

  means to receive payment. (See Burns Decl. in Support of Application for Temporary

  Restraining Order ¶ 4 and Comp. Exs. 1 through 4 thereto.) Indeed, Plaintiffs’ investigator

  completed a purchase electronically via each Defendant’s respective e-commerce store operating

  under its respective Seller ID. (Id.) Clearly, Defendants rely on electronic means as reliable

  forms of contact.

  III.   ARGUMENT
         Pursuant to Federal Rule of Civil Procedure 4(h)(2), a foreign partnership or other

  unincorporated association may be served with process in any manner prescribed by Rule 4(f) for

  serving foreign individuals. Federal Rule of Civil Procedure 4(f)(3), allows a district court to

  authorize an alternate method for service to be effected upon a foreign defendant, provided that it

  is not prohibited by international agreement and is reasonably calculated to give notice to the

  defendant. In the present matter, alternate service of process via e-mail and posting on Plaintiffs’

  Website are appropriate given Defendants have established Internet-based businesses by which

  they rely on electronic communications for their operation. Accordingly, this Court should

  permit service on Defendants by e-mail and website posting.

         A.      The Court May Authorize Service via Electronic Mail and Website Posting
                 Pursuant to Federal Rule of Civil Procedure 4(f)(3).

         Federal Rule of Civil Procedure 4(h)(2) allows a foreign business entity to be served with



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  process “in any manner prescribed by Rule 4(f),” including any manner ordered under Rule

  4(f)(3). U.S. Commodity Futures Trading Comm’n v. Aliaga, 272 F.R.D. 617, 619 (S.D. Fla.

  2011). A foreign partnership or other unincorporated association can therefore be served in the

  same manner as serving a foreign individual pursuant to Rule 4(f)(3). Id. Federal Rule of Civil

  Procedure 4(f)(3) allows alternative methods for service of process, so long as those methods are

  not prohibited by international agreement and are directed by the Court. See Prewitt Enters., Inc.

  v. The Org. of Petrol. Exporting Countries, 353 F.3d 916, 923 (11th Cir. 2003). See also

  Brookshire Bros., Ltd. v. Chiquita Brands Int’l, Case No. 05-CIV-21962, 2007 WL 1577771, at

  *2 (S.D. Fla. May 31, 2007); Rio Props. Inc., v. Rio Int’l Interlink, 284 F.3d 1007, 1014 (9th Cir.

  2002). In fact, “as long as court-directed and not prohibited by an international agreement,

  service of process ordered under Rule 4(f)(3) may be accomplished in contravention of the laws

  of the foreign country.” Chanel, Inc. v. Zhixian, 2010 WL 1740695, at * 2 quoting Rio Props.,

  284 F.3d at 1014 (citing Mayoral–Amy v. BHI Corp., 180 F.R.D. 456, 459 n. 4 (S.D. Fla. 1998)).

         The plain language of Rule 4(f)(3) reflects that the decision to issue an order allowing an

  alternate means of service lies within the sole discretion of the District Court. Prewitt Enters.,

  Inc., 353 F.3d at 921; Rio Props., 284 F.3d at 1116. See, e.g., Brookshire Bros., Ltd., 2007 WL

  1577771, at *2 (noting that “district courts have broad discretion under Rule 4(f)(3) to authorize

  other methods of service”); In re Int’l Telemedia Assocs., 245 B.R. 713, 720 (N.D. Ga. 2000)

  (noting that Rule 4(f)(3) is designed to allow courts discretion and broad flexibility to tailor the

  methods of service for a particular case). Rule 4 does not require a party attempt service of

  process by those methods enumerated under subsections (f)(1) and (f)(2), including by

  diplomatic channels and letters rogatory, before petitioning the court for alternative relief under




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  subsection 4(f)(3). Rio Props., 284 F.3d at 1114-15; see also Brookshire Bros., Ltd., 2007 WL

  1577771, at *1.

         In Brookshire, the Honorable Judge Marcia G. Cooke allowed substitute service on a

  party’s attorney pursuant to Rule 4(f)(3) holding as follows:

         Rule 4(f)(3) is one of three separately numbered subsections in Rule 4(f) and each
         subsection is separated from the one previous merely by the simple conjunction
         ‘or.’ Rule 4(f)(3) is not subsumed within or in any way dominated by Rule 4(f)’s
         other subsections; it stands independently, on equal footing. Moreover, no
         language in Rules 4(f)(1) or 4(f)(2) indicates the primacy, and certainly Rule
         4(f)(3) indicates no qualifiers or limitations which indicate its availability only
         after attempting service of process by other means.

  Brookshire Bros., Ltd., 2007 WL 1577771, at *1 (quoting Rio Props., 284 F.3d at 1015). Accord

  TracFone Wireless, Inc. v. Bitton, 278 F.R.D. 687, 692 (S.D. Fla. Jan. 11, 2012) (noting that, in

  regards to Rule 4(f)(3), “there is no indication from the plain language of the Rule that the three

  subsections, separated by the disjunctive “or,” are meant to be read as a hierarchy.”). Judge

  Cooke further held, “[t]he invocation of Rule 4(f)(3), therefore, is neither a last resort nor

  extraordinary relief.” Brookshire Bros., Ltd., 2007 WL 1577771, at *2.

         Additionally, the Constitution itself does not mandate that service be effectuated in any

  particular way. Rather, Constitutional due process considerations require only that the method of

  service selected be “reasonably calculated, under all the circumstances, to apprise interested

  parties of the pendency of the action and afford them an opportunity to present their objections.”

  Brookshire Bros., Ltd., 2007 WL 1577771, at *1 (quoting Mullane v. Cent. Hanover Bank &

  Trust Co., 339 U.S. 306, 314 (1950)); see also TracFone Wireless, Inc., 278 F.R.D. at 692; Rio

  Props., 284 F.3d at 1016. Accordingly, federal courts have allowed a variety of alternative

  service methods, including service by e-mail and service by posting on a designated website,

  where a plaintiff demonstrates the likelihood that the proposed alternative method of service will



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  notify a defendant of the pendency of the action. See, e.g., Rio Props., 284 F.3d at 1017 (holding,

  “without hesitation,” that e-mail service of an online business defendant “was constitutionally

  acceptable”); In re Int’l Telemedia Assocs., 245 B.R. at 721 (“If any methods of communication

  can be reasonable calculated to provide a defendant with real notice, surely those communication

  channels utilized and preferred by the defendant himself must be included among them.”).

  National Association for Stock Car Auto Racing, Inc. v. Does, 584 F. Supp. 2d 824, 826

  (W.D.N.C. 2008) (in “acknowledging the realities of the twenty-first century and the information

  age, the Court determined that the most appropriate place for posting was [Plaintiff’s

  Website].”).

         Here, service on Defendants by e-mail and/or posting on Plaintiffs’ Website will satisfy

  due process by apprising them of the action and giving them the opportunity to answer Plaintiffs’

  claims. Based on Plaintiffs’ investigation, each Defendant has at least one form of electronic

  means of contact, demonstrating that this means of contact is not just effective, but the most

  reliable means of communicating with that Defendant, and consequently, the most reliable means

  of providing Defendants with notice of this action. (See Wiborg-Rodriguez Decl. ¶¶ 3-7; Burns

  Decl. in Support of Application for Temporary Restraining Order ¶ 4.) Moreover, service by

  posting on Plaintiffs’ Website will be an additional source of reliability as Defendants will be

  able to see copies of the Complaint and all other documents in this matter electronically via their

  Internet browser. (See Wiborg-Rodriguez Decl. ¶ 8.)

         E-mail service on an online business defendant is appropriate and constitutionally

  acceptable in a case such as this when the Plaintiffs have proven that e-mail is the most effective

  means of providing the defendant notice of the action. See Rio Properties, 284 F.3d at 1017

  (concluding “not only that service of process by e-mail was proper—that is, reasonably




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  calculated to apprise [the defendant] of the pendency of the action and afford it an opportunity to

  respond—but in this case, it was the method of service most likely to reach [the defendant].”).

  See also Popular Enters., LLC v. Webcom Media Group, Inc., 225 F.R.D. 560, 562 (E.D. Tenn.

  2004) (“Under the facts and circumstances presented here, Rule 4(f)(3) clearly authorizes the

  court to direct service upon defendant by e-mail. The rule is expressly designed to provide courts

  with broad flexibility in tailoring methods of service to meet the needs of particularly difficult

  cases. Such flexibility necessarily includes the utilization of modern communication

  technologies to effect service when warranted by the facts) (citation omitted). The Rio Properties

  and Popular Enters., LLC courts each determined e-mail service to be appropriate in part

  because, as in this case, the defendants conducted their businesses online, used e-mail regularly

  in their businesses, and encouraged parties to contact them via e-mail. (See id.)

         In cases that are factually similar to this one, a number of Courts have held that alternate

  forms of service pursuant to Rule 4(f)(3), such as e-mail service, are appropriate and may be the

  only means of effecting service of process “when faced with an international e-business

  scofflaw.” See Rio Properties, 284 F.3d at 1018; see also Chanel, Inc. v. Zhixian, 2010 WL

  1740695, at *3 (e-mail service “reasonably calculated to notify Defendants of the pendency of

  this action and provide him with an opportunity to present objections.”); TracFone Wireless,

  Inc., 278 F.R.D. at 693 (finding that service of process by e-mail was reasonably calculated to

  apprise the defendants of the action and give it an opportunity to respond); Popular Enters., LLC,

  225 F.R.D. at 563 (same); In re Int’l Telemedia Associates, 245 B.R. at 722 (“A defendant

  should not be allowed to evade service by confining himself to modern technological methods of

  communication not specifically mentioned in the Federal Rules. Rule 4(f)(3) appears to be

  designed to prevent such gamesmanship by a party” (concluding e-mail and facsimile service to




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  be appropriate)); Chanel, Inc. v. Zhibing, Case No. 09-cv-02835, 2010 WL 1009981, at *4

  (W.D. Tenn. March 17, 2010) (stating that e-mail service has the “greatest likelihood” of

  reaching e-commerce merchants and noting, “The federal judiciary’s own CM/ECF system alerts

  parties . . . by e-mail messages.” Alternate service via e-mail granted). 6 Plaintiffs submit that

  allowing e-mail service in the present case is appropriate and comports with constitutional

  notions of due process, particularly given Defendants’ decisions to conduct their illegal

  businesses using the Internet and utilizing e-mail as a primary means of communication.

         Additionally, service of a defendant by posting on a designated website has been deemed

  an appropriate means of service by posting. See National Association for Stock Car Auto

  Racing, Inc., 584 F. Supp. 2d at 826. 7 A proposed method of website posting need only be


  6
    See Louis Vuitton Malletier v. lv2014.skrar, Case No. 19-cv-61015-RAR (S.D. Fla. June 14,
  2019) (Order granting alternative service via, inter alia, e-mail); Fendi S.R.L. v. JOE BAG, et
  al., Case No. 19-cv-61356-RAR (S.D. Fla. June 4, 2019) (same); adidas AG v. Global online
  shopping, et al., Case No. 19-cv-61180-RAR (S.D. Fla. May 29, 2019) (same); Abercrombie &
  Fitch Trading Co. v. Artemis Gesdy, et al., Case No. 19-cv-60287-RAR (S.D. Fla. May 16,
  2019) (same). See also Gucci Am., Inc. v. Individuals, P’ships & Unincorporated Ass’ns, No.
  19-60600-CIV-CMA, 2019 U.S. Dist. LEXIS 78858 (S.D. Fla. Mar. 8, 2019) (same); adidas AG
  v. Individuals, P’ships & Unincorporated Ass’ns, No. 19-60457-CIV-WPD, 2019 U.S. Dist.
  LEXIS 78035 (S.D. Fla. Feb. 25, 2019) (same); Apple Corps Limited, et al v. Individuals,
  P’ships & Unincorporated Ass’ns, No. 19-60404-CIV-KMW, 2019 U.S. Dist. LEXIS 78859
  (S.D. Fla. Feb. 19, 2019) (same); adidas AG v. adidas.style, No. 17-62535-CIV-MGC, 2018 U.S.
  Dist. LEXIS 216976 (S.D. Fla. Feb. 7, 2018) (Hunt, P.) (same); Michael Kors, L.L.C. v. 0-
  66602, No. 18-62775-CIV-DPG, 2018 U.S. Dist. LEXIS 225639, (S.D. Fla. Dec. 6, 2018)
  (same).
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    See also Louis Vuitton Malletier v. lv2014.skrar, Case No. 19-cv-61015-RAR (S.D. Fla. June
  14, 2019) (Order granting alternative service via e-mail service and by posting on plaintiff’s
  designated website); Fendi S.R.L. v. JOE BAG, et al., Case No. 19-cv-61356-RAR (S.D. Fla.
  June 4, 2019) (same); adidas AG v. Global online shopping, et al., Case No. 19-cv-61180-RAR
  (S.D. Fla. May 29, 2019) (same); Abercrombie & Fitch Trading Co. v. Artemis Gesdy, et al.,
  Case No. 19-cv-60287-RAR (S.D. Fla. May 16, 2019) (same). See also Gucci Am., Inc. v.
  Individuals, P’ships & Unincorporated Ass’ns, No. 19-60600-CIV-CMA, 2019 U.S. Dist. LEXIS
  78858 (S.D. Fla. Mar. 8, 2019) (same); adidas AG v. Individuals, P’ships & Unincorporated
  Ass’ns, No. 19-60457-CIV-WPD, 2019 U.S. Dist. LEXIS 78035 (S.D. Fla. Feb. 25, 2019)
  (same); Apple Corps Limited, et al v. Individuals, P’ships & Unincorporated Ass’ns, No. 19-
  60404-CIV-KMW, 2019 U.S. Dist. LEXIS 78859 (S.D. Fla. Feb. 19, 2019) (same); adidas AG v.


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  “reasonably calculated under all the circumstances, to apprise interested parties of the pendency

  of the action and afford them an opportunity to present their objections.” National Association

  for Stock Car Auto Racing, Inc., 584 F. Supp. 2d at 826 (citing Mullane v. Cent. Hanover Bank

  & Trust Co., 339 U.S. 306, 315-16, 70 S. Ct. 652, 94 L. Ed. 865 (1950)). In National Association

  for Stock Car Auto Racing, Inc. v. Does, the United States District Court for the Western District

  of North Carolina determined that the plaintiff could serve “Doe” defendants and apprise those

  defendants of a pending preliminary injunction hearing posting on the plaintiff’s website. (Id.)

         Accordingly,    Plaintiffs   have   created   their   Website   appearing   at   the   URL

  http://servingnotice.com/awel3b/index.html whereon copies of the Complaint, this Motion, and

  all other pleadings, documents, and orders issued in this action will be posted. (See Wiborg-

  Rodriguez Decl. ¶ 8.) The address to Plaintiffs’ Website will be provided to Defendants via their

  known e-mail accounts and onsite contact forms, and will be included upon service of process in

  this matter. (Id.) Plaintiffs respectfully submit that alternate service by posting the Summonses

  and Complaint on Plaintiffs’ Website will provide notice to Defendants sufficient to meet the due

  process requirements for service of process pursuant to Federal Rule of Civil Procedure 4,

  apprise Defendants of the pendency of this action, and afford Defendants and any other

  interested parties an opportunity to present their answers and objections.

         B.      Service of Process Via Electronic Means Are Not Prohibited by International
                 Agreement.

         Service via e-mail and via posting on a designated website are not prohibited by

  international agreement. Based upon the information provided in connection with Defendants’ e-

  commerce stores including the shipping information and payment data provided in connection


  adidas.style, No. 17-62535-CIV-MGC, 2018 U.S. Dist. LEXIS 216976 (S.D. Fla. Feb. 7, 2018)
  (Hunt, P.) (same); Michael Kors, L.L.C. v. 0-66602, No. 18-62775-CIV-DPG, 2018 U.S. Dist.
  LEXIS 225639, (S.D. Fla. Dec. 6, 2018) (same).


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  with Defendants’ Seller IDs, Plaintiffs have good cause to suspect Defendants are residing in the

  People’s Republic of China (“China”), or other foreign jurisdictions, and/or redistribute products

  from sources in those locations. 8 (See Wiborg-Rodriguez Decl. ¶ 10.) The United States and

  China are signatories to the Hague Convention on the Service Abroad of Judicial and Extra-

  Judicial Documents in Civil and Commercial Matters (the “Hague Service Convention”). (See

  Wiborg-Rodriguez Decl. ¶ 11 and Composite Exhibit “1” attached thereto, Hague Service

  Convention and list of signatory Members.) However, the Hague Service Convention does not

  preclude the Court from authorizing service of process via e-mail or posting on a designated

  website.

         Alternative means of service, such as e-mail and website posting, are not prohibited by

  the Hague Service Convention where a signatory nation has not expressly objected to those

  means. See Stat Med. Devices, Inc. v. HTL-Strefa, Inc., Case No. 15-cv-20590-FAM, 2015 U.S.

  Dist. LEXIS 122000 (S.D. Fla. Sept. 14, 2015) (noting that an objection to the alternative forms

  of service set forth in the Hague Convention is limited to the forms of service expressly objected

  to). 9 Article 10 to the Hague Service Convention allows service of process through means other


  8
     Upon information and belief, some Defendants likely reside and/or operate in foreign
  jurisdictions but ship their goods to shipping and fulfillment centers within the United States to
  redistribute their products from those locations. (See Compl. ¶ 10.)
  9
    See Louis Vuitton Malletier v. lv2014.skrar, Case No. 19-cv-61015-RAR (S.D. Fla. June 14,
  2019) (authorizing e-mail service and by posting on plaintiff’s designated website, noting an
  objection to the alternative means of service provided by the Hague Convention is expressly
  limited to those means and does not represent an objection to other forms of service, such as e-
  mail or posting); Fendi S.R.L. v. JOE BAG, et al., Case No. 19-cv-61356-RAR (S.D. Fla. June 4,
  2019) (same); adidas AG v. Global online shopping, et al., Case No. 19-cv-61180-RAR (S.D.
  Fla. May 29, 2019) (same); Abercrombie & Fitch Trading Co. v. Artemis Gesdy, et al., Case No.
  19-cv-60287-RAR (S.D. Fla. May 16, 2019) (same). See also Gucci Am., Inc. v. Individuals,
  P’ships & Unincorporated Ass’ns, No. 19-60600-CIV-CMA, 2019 U.S. Dist. LEXIS 78858
  (S.D. Fla. Mar. 8, 2019) (same); adidas AG v. Individuals, P’ships & Unincorporated Ass’ns,
  No. 19-60457-CIV-WPD, 2019 U.S. Dist. LEXIS 78035 (S.D. Fla. Feb. 25, 2019) (same); adidas
  AG v. adidas.style, No. 17-62535-CIV-MGC, 2018 U.S. Dist. LEXIS 216976 (S.D. Fla. Feb. 7,


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  than a signatory’s Central Authority, such as “postal channels” and “judicial officers,” provided

  the State of destination does not object to those means. See Hague Convention, Art. 10, 20

  U.S.T. 361 (1969). China has objected to the alternative means of service outlined in Article 10

  of the Convention. (See Wiborg-Rodriguez Decl. ¶ 11.) However, that objection is specifically

  limited to the means of service enumerated in Article 10, and China has not expressly objected to

  service via e-mail or website posting. (See id. and Comp. Ex. 1 attached thereto.) Because the

  declaration to the Hague Convention filed by China does not object to e-mail and website

  posting service, “a court acting under Rule 4(f)(3) remains free to order alternative means of

  service that are not specifically referenced in Article [10].” Gurung v. Malhotra, 279 F.R.D. 215,

  219 (S.D.N.Y. 2011); see also WhosHere, Inc. v. Orun, Case No. 13-cv-00526-AJT, 2014 U.S.

  Dist. LEXIS 22084, at *9 (E.D. Va. Feb. 20, 2014) (authorizing e-mail service, noting objection

  to means of service listed in Article 10 “is specifically limited to the enumerated means of

  service in Article 10.”).

         Moreover, an objection to the alternative means of service provided in Article 10 does

  not represent a per se objection to other forms of service, such e-mail or website posting. See In

  re S. African Apartheid Litig., 643 F. Supp. 2d 423, 434, 437 (S.D.N.Y. 2009) (requiring express

  objection to alternative method of service by signatory nation to preclude that particular means

  of service). Consequently, China’s objection to the means of alternative service provided in

  Article 10 is no bar to court-directed service and do not prevent this Court form authorizing

  alternative service of process via e-mail or website posting. See, e.g., Gurung, 279 F.R.D. at 220

  (approving service of process on foreign defendants via e-mail despite India’s objection to


  2018) (Hunt, P.) (same); Michael Kors, L.L.C. v. 0-66602, No. 18-62775-CIV-DPG, 2018 U.S.
  Dist. LEXIS 225639, (S.D. Fla. Dec. 6, 2018) (authorizing e-mail and website publication
  service despite China’s objection to Article 10).



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  Article 10, stating that an “objection to service through postal channels does not amount to an

  express rejection of service via electronic mail.”); Stat Med. Devices, Inc., 2015 U.S. Dist.

  LEXIS 122000 at *8-9 (permitting service of process on foreign defendants via e-mail and

  substituted service on domestic counsel despite Poland’s objection to Article 10, noting “This

  Court and many other federal courts have permitted service by electronic mail and determined

  that an objection to Article 10 of the Hague Convention . . . does not equate to an express

  objection to service via electronic mail.”); FTC v. PCCare247 Inc., Case No. 12-cv-7189-PAE,

  2013 U.S. Dist. LEXIS 31969, at * 10 (S.D.N.Y. March 7, 2013) (authorizing service of process

  via e-mail and Facebook, explaining that “Numerous courts have held that service by email does

  not violate any international agreement where the objections of the recipient nation are limited to

  those means enumerated in Article 10.”); WhosHere, Inc., 2014 U.S. Dist. LEXIS 22084

  (authorizing service of process on foreign defendants via e-mail despite Turkey’s objection to

  Article 10); Richmond Techs., Inc. v. Aumtech Bus. Solutions, Case No. 11-CV-02460-LHK,

  2011 U.S. Dist. LEXIS 71269 (N.D. Cal. July 1, 2011) (“[N]umerous courts have authorized

  alternative service under Rule 4(f)(3) even where the Hague Convention applies. This is true

  even in cases involving countries that, like India, have objected to the alternative forms of

  service permitted under Article 10 of the Hague Convention.”).

  IV.    CONCLUSION

         For the foregoing reasons, Plaintiffs, Apple Corps Limited and Subafilms Limited,

  respectfully request this Court grant the present motion and authorize service of the Summonses,

  Complaint, and all filings and discovery in this matter upon each Defendant in this action:

         (1)     via e-mail by providing the address to Plaintiffs’ designated serving notice

  website to Defendants via the e-mail accounts provided by Defendants (i) as part of the data




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  related to their respective e-commerce stores or websites, including customer service e-mail

  addresses and onsite contact forms, or (ii) via the e-commerce platforms for their respective e-

  commerce stores, or

         (2)    via website posting by posting a copy of the Summonses, Complaint, and all

  filings and discovery in this matter on Plaintiffs’ Website appearing at the URL

  http://servingnotice.com/awel3b/index.html.

  DATED: March 19, 2020.              Respectfully submitted,
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                                      Virgilio Gigante (Fla. Bar No. 082635)
                                      T. Raquel Wiborg-Rodriguez (Fla. Bar. No. 103372)
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                                      Attorneys for Plaintiffs




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                                SCHEDULE “A”
             DEFENDANTS BY NUMBER, SELLER ID, AND MEANS OF CONTACT


Def. No.                Defendant / Seller ID                      Means of Contact

   1       FuntionRoad                                www.amazon.com/shops/AM89SFVYDXKSH
   2       Fwad Gacx                                  www.amazon.com/shops/AF76R15UQSUT
   3       hefeimoshikejiyouxiangongsi                www.amazon.com/shops/A1JRTV7FUN6PV9
   4       HF2121gdd                                  www.amazon.com/shops/AG30RV5TXBI2W
   5       HJMYY                                      www.amazon.com/shops/A3YJC87VOJH04
   6       huang jin.                                 www.amazon.com/shops/AI7OROG8IWMHA
   7       KKFFFIINHGH                                www.amazon.com/shops/A2DTQW17ML3BSN
   8       kunaichen                                  www.amazon.com/shops/A2SG26EY06P7BF
   9       LanS                                       www.amazon.com/shops/A3JKVMZOWBJC3T
  10       Lisa Cave                                  www.amazon.com/shops/A26J1EOJVDX3Z9
  11       Not care                                   www.amazon.com/shops/AY191YJ8NCWD5
  12       QDWSRY12DX                                 www.amazon.com/shops/A3OEH5DZ9N13ZF
  13       quzhoushikechengzuobianfuzhuangdian        www.amazon.com/shops/A33FYACIH4S8X5
  14       Simply lovely                              www.amazon.com/shops/A1JZKZ90WNZ844
  15       Sping Jewelry                              www.amazon.com/shops/A2C0734K3FH010
  16       STACDO                                     www.amazon.com/shops/A1X5SPA1M6Q2IG
  17       THOMX                                      www.amazon.com/shops/A1ORQY4KOYB3V2
  18       vphk84trbps                                www.amazon.com/shops/A3B4MOGKI9RUAR
  19       xingluzhenxin                              www.amazon.com/shops/A2GYGX52RDFRN
  20       York Rutherford                            www.amazon.com/shops/A1GSF3SJ849E5B
  21       Aboom                                      www.dhgate.com/store/20683917
  22       Bincheng4                                  www.dhgate.com/store/21155587
  23       Buyfullteam                                www.dhgate.com/store/21356464
  24       Charben                                    www.dhgate.com/store/21090197
  25       Dgmcyima                                   www.dhgate.com/store/21014830



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 26    Elena12                              www.dhgate.com/store/19930458
 27    Honey_home                           www.dhgate.com/store/20678782
 28    Hu860818                             www.dhgate.com/store/20294094
 29    Jimliu520                            www.dhgate.com/store/20594189
 30    Joe_he                               www.dhgate.com/store/20294660
 31    Kimexu                               www.dhgate.com/store/14325756
 32    Princess0510                         www.dhgate.com/store/20037108
 33    Shancb12                             www.dhgate.com/store/19974057
 34    Toplogo                              www.dhgate.com/store/20458499
 35    Wk1403 a/k/a China Jerseys           www.dhgate.com/store/21153467
 36    Workingcover01                       www.dhgate.com/store/20607187
 37    Xsy01tshirt                          www.dhgate.com/store/21109459
 38    acagi13                              acaturgigih31@hotmail.com
 39    adgunawa_9                           adigunawan3435@gmail.com
 40    adiprasety-0                         adibprasetyo223@gmail.com
 41    ahmahasyi-0                          ahasyim587@gmail.com
 42    alnasiki0                            alinasikin337@gmail.com
 43    ananpurnom-0                         rosidahs470@gmail.com
 44    ariqoto-0                            arifqotob499@gmail.com
 45    ars_3300                             arsyidkal222@gmail.com
 46    budsantos72                          budisantoso23121@gmail.com
 47    cimorsep0                            cimorisepi334@gmail.com
 48    dikmali0                             dikimalik81@gmail.com
 49    ds107927_9                           ds107927@gmail.com
 50    edgibso0                             edigibson7@gmail.com
 51    ekod949900                           ekod94990@gmail.com
 52    fefebr_0                             febrifebrianto09@hotmail.com

 53    gatokac_0                            gatotkaca376382@gmail.com
 54    gilanpawism-0                        gilangpawisma897@gmail.com
 55    hasanurdi-9                          hasannurdin324@gmail.com


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 56    husal3924                            andikhermanto220@gmail.com
 57    ifabahdi0                            ifanbahdim654@gmail.com
 58    kirukiru-9                           kirun.6ki@gmail.com
 59    lipanh_0                             panhegarlion22@hotmail.com
 60    lovelyseller_qzl                     wuhongyuepp@126.com
 61    luklukma-0                           lukilukman322@gmail.com
 62    ma-225045                            gotanrambois0607@gmail.com
 63    mansuaripi-2                         mansuraripin5445@gmail.com
 64    manugoal2000                         manugoal2000@gmail.com
 65    petetanuwijay_0                      wijayapetertanu@gmail.com
 66    ri_317                               rikodwi87654@hotmail.com
 67    rustomuzak-0                         rustonmuzaki278@gmail.com
 68    slameriyad_12                        slametriyadi27356@gmail.com
 69    wantputr0                            putrawanto41@gmail.com
 70    yoglig-0                             yogaliga86@gmail.com
 71    zumzol_0                             zumizola231@gmail.com
                                            https://www.wish.com/merchant/547091891280f
 72    benben.std                           a0973080e21
                                            https://www.wish.com/merchant/5808351d9a2dd
 73    Fashionyou1999                       747de698912
                                            https://www.wish.com/merchant/541e98ad4ad3a
 74    ojbhgg online store                  b65569b41d5
                                            https://www.wish.com/merchant/5d537d9d40def
 75    surprise cc                          d6b15e4817d
                                            https://www.wish.com/merchant/5d53d3b515275
 76    YIJIN17                              4324b8074c5
                                            https://www.wish.com/merchant/5d55170940def
 77    YIJIN22                              d4efeab697a
                                            https://www.wish.com/merchant/57987f2123430
 78    zhieyuan                             127b73228f5




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